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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                      )
   MAUREEN FOX and LYNNE                              )
   WOODWARD,                                          )
                                                      )
                          Plaintiffs,                 )
                                                      )   No. 21 C 06720
          v.                                          )
                                                      )   Chief Judge Virginia M. Kendall
   DUPAGE TOWNSHIP,                                   )
                                                      )
                           Defendant.                 )
                                                      )

                                    OPINION AND ORDER

       Plaintiffs Maureen Fox and Lynne Woodward move for reconsideration of the Court’s

November 20, 2024 Memorandum Opinion and Order (the “Opinion”) granting summary

judgment in favor of the only remaining Defendant in this case, DuPage Township (“Township”).

(Dkt. 120; Dkt. 124). For the following reasons, the Motion for Reconsideration [124] is denied.

                                        BACKGROUND

       The Court assumes the parties’ familiarity with the facts as laid out in its Opinion, and only

discusses those relevant to Plaintiffs’ motion.

       A party may move the Court to alter or amend a judgment within 28 days of entry under

Federal Rule of Civil Procedure 59(e). Rule 59(e) provides a narrow and extraordinary remedy,

with the moving party bearing a heavy burden. Kap Holdings, LLC v. Mar-Cone Appliance Parts

Co., 55 F.4th 517, 528 (7th Cir. 2022); see also Scott v. Bender, 948 F. Supp. 2d 859, 865 (N.D.

Ill. 2013). “To prevail on a motion for reconsideration under Rule 59, the movant must present

either newly discovered evidence or establish a manifest error of law or fact.” Oto v. Metro. Life

Ins. Co., 224 F.3d 601, 606 (7th Cir. 2000) (citing LB Credit Corp. v. Resol. Tr. Corp., 49 F.3d


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1263, 1267 (7th Cir. 1995)); see also Caisse Nationale de Credit Agricole v. CBI Indus., Inc.,

90 F.3d 1264, 1269 (7th Cir. 1996) (“Motions for reconsideration serve a limited function: to

correct manifest errors of law or fact.”). Manifest errors are “not demonstrated by the

disappointment of the losing party.” Oto, 224 F.3d at 606. And Rule 59(e) is not a vehicle for

rehashing lost arguments or advancing theories or evidence that should have come out before the

Court entered final judgment. Sigsworth v. City of Aurora, 487 F.3d 506, 512 (7th Cir. 2007).

                                           DISCUSSION

       Plaintiffs raise six points that boil down to arguments they previously made in opposition

to the Township’s Motion for Summary Judgment or sweeping statements of fact without support

in the record. They cite five out-of-circuit cases for some background principles related to Rule

59(e), but fail to elaborate upon whether they believe the Court erred as a matter of law or fact.

(See Dkt. 124 at 2–3). In reply, Plaintiffs state the basis for their motion is the “Court’s failure to

consider relevant facts and manifest error.” (Dkt. 132 at 1).

       As an initial matter, many of the Plaintiffs’ reconsideration arguments are hard to follow,

plainly inaccurate, or irrelevant to the legal conclusions the Court reached in its Opinion. For

instance, Plaintiffs concede that many of their additional facts contain no citations to supporting

evidence, but “will be proven at trial.” (Dkt. 124 at 3). Perhaps Plaintiffs confuse summary

judgment with a motion to dismiss, given they repeatedly ask the Court to “vacate its November

20, 2024, Order Granting Defendant’s Motion to Dismiss.” (Dkt. 124 at 1; see id. at 4). Regardless,

Plaintiffs are mistaken that they can include unsupported factual allegations in their L.R. 56.1

statements on the basis that they will later prove them at trial. See L.R. 56.1(b)(3)(C) (requiring

statements of additional fact to include “references to the affidavits, parts of the record, and other

supporting materials”); see Mintjal v. Pro. Benefit Tr., 146 F. Supp. 3d 981, 984 (N.D. Ill. 2015)




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(“eliminat[ing] from consideration” any factual statements that are “unsupported by the

documented evidence of record offered in support”). Next, without elaboration, Plaintiffs claim

the Court incorrectly stated that “only counts I and III” remained following resolution of the

Township’s Motion to Dismiss. (Dkt. 21). Apparently, Plaintiffs are under the impression that

Counts I and II remain. (Dkt. 124 at 4). They are incorrect. The Court dismissed Count II of

Plaintiff’s Complaint, which alleged procedural due process violations. (Dkt. 21 at 14–15; Dkt. 1-

1 at 7). The Township did not move to dismiss Count III of the Complaint alleging breach of an

implied employment contract, and instead filed an answer to that Count. (Dkt. 21 at 19–20; Dkt.

12; Dkt. 1-1 at 7). Accordingly, the Court correctly stated that Counts I and III were all that

remained when it issued its Opinion. (Dkt. 120 at 5). What remains of Plaintiffs’ Motion for

Reconsideration are disagreements with how the Court viewed the evidence and what facts it

considered or ignored.

       Plaintiffs urge the Court to review their many unsupported statements of fact and

reconsider whether they met their burden of demonstrating that their protected First Amendment

activity was “at least a motivating factor in the [Defendant’s] decision to take the retaliatory

action.” McGreal v. Vill. of Orland Park, 850 F.3d 308, 312 (7th Cir. 2017) (quoting Perez v.

Fenoglio, 792 F.3d 768, 783 (7th Cir. 2015)). The Court, in its discretion to demand strict

compliance with Rule 56.1, struck those of Plaintiffs’ additional facts and responses to the

Defendant’s statements of fact that did not include “direct citation to easily identifiable support in

the record.” (Dkt. 120 at 2). The Court stands by that decision given the Plaintiffs’ repeated failures

to follow L.R. 56.1’s requirements, as documented above and in the Opinion. (See id.).

Nonetheless, lest there be any doubt the Court considered all properly presented evidence in its




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Opinion, the Court reviews Plaintiffs’ specific factual points and their purported evidence in

support thereof below.

         First Amendment retaliation claims analyzed at summary judgment are subject to a burden

shifting framework. Kidwell v. Eisenhauer, 679 F.3d 957, 965 (7th Cir. 2012). First, the plaintiff

bears the initial burden of showing, through specific and admissible evidence, that their protected

speech was “at least a motivating factor” in the allegedly retaliatory action. Kidwell v. Eisenhauer,

679 F.3d 957, 965 (7th Cir. 2012). If the plaintiff can do so, the defendant must rebut the “causal

inference raised by the plaintiff’s evidence,” usually by offering an alternative explanation for its

action. Id. Third, the plaintiff inherits the burden once more to show that the defendant’s alternative

explanation was pretextual. McGreal, 850 F.3d at 313. The Court found Fox and Woodward failed

at both the first and third step. (Dkt. 120 at 7–8).

         Proving that protected speech was a motivating factor in a retaliatory employment action

requires plaintiffs to show the defendant knew about the speech. McGreal, 850 F.3d at 313;

Stagman v. Ryan, 176 F.3d 986, 999–1000 (7th Cir. 1999). Without knowledge, there can be no

retaliation. Plaintiffs contend they have presented sufficient evidence to create at least a triable

issue of fact that Marschke and his slate of Democratic candidates knew Plaintiffs were

Republicans based on their “involvement at the Township and Bolingbrook for years.” (Dkt. 124

at 3–4). Further, they state without context that “Traynere was seen arguing with Woodward.” (Id.

at 4).

         Plaintiffs’ claims as to Marschke’s knowledge mirror their third additional fact, (Dkt. 110

at 28), which states that “Marschke and his supporters were well-aware of Plaintiffs’ support for

Republicans.” But that fact lacks any evidentiary support. Plaintiffs first cite excerpts from

Kenneth Burgess’s deposition, which indicate the Burgess knew Fox and Woodward supported




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Republican candidates. (See Dkt. 110 at 28; Burgess Dep., Dkt. 105-6 at 15:24–16:23). But they

provide no basis for imputing that knowledge to Marschke or his slate. Burgess was not part of the

slate. And although he spoke with Marschke before Marschke took office in 2021, the two never

discussed Fox or Woodward’s politics. Once Marschke and his slate were sworn into office,

Burgess left township government. (Burgess Dep., Dkt. 105-6 at 73:10–19). Plaintiffs next cite a

passage of Jackie Traynere’s deposition, where she states that she has known Maureen Fox since

approximately 2006, and first came across her in 2000. (Dkt. 110 at 28; Traynere Dep., Dkt. 105-

1 at 22:4–23:3). That testimony does nothing to establish whether Traynere knew Plaintiffs’

political allegiances or campaign activities. Indeed, when asked directly about whether she knew

if either of the Plaintiffs were Republicans, Traynere said “no” and that she would “have no way

of knowing.” (Traynere Dep., Dkt. 105-1 at 44:3–5; see also id. at 46:1–4). Finally, Plaintiffs cite

Marschke’s deposition, but offer no page or line number. (See Dkt. 110 at 28). In sum, their

citations fail to provide any evidence that the Defendant had knowledge of Plaintiffs’ political

affiliation, much less any political speech they may have been involved in during the 2021 election.

       One additional example underscores Plaintiffs’ evidentiary shortcomings. Plaintiffs’

additional fact 27, (Dkt. 110 at 32), states that Linda Youngs had a meeting with Marschke prior

to the first board meeting in May 2021 and “surely would have informed him of the Plaintiffs’

Republican affiliations if Marschke didn’t already know.” But this is pure speculation. Plaintiffs

cite page 45 of Traynere’s deposition for support. (Dkt. 110 at 32). That page is not included in

the excerpts of Traynere’s deposition that either side provided. (See Dkt. 105-1 at 7–8; Dkt. 114-

4 at 7–8). Plaintiffs also cite pages 105–06 of Youngs’s deposition, but that testimony merely

establishes that Youngs and Marschke had a budget meeting before Marschke was sworn in. There

is nothing in that passage that suggests the two of them even spoke about Fox or Woodward. (See




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Dkt. 114-6 at 105–06). Again, Plaintiffs are left with nothing more than conjecture, which could

not “carry the day at summary judgment,” and certainly does not justify reconsideration. (Dkt. 120

at 7).

         Plaintiffs next reference an alleged encounter between Traynere and Woodward to

establish that Traynere knew about Woodward’s support for Republican candidates. (Dkt. 124 at

4 (“Traynere was seen arguing with Woodward”)). Woodward provided a declaration in which she

stated that she “had a confrontational argument with Traynere previous to the April 2021 election

and felt she resented me.” (Woodward Aff., Dkt. 110-2 ¶ 11). But Woodward does not elaborate

on when the confrontation took place, what it concerned, or whether it had anything to do with

political affiliations or speech. Indeed, Traynere and Woodward never mentioned the encounter in

their depositions, including when Woodward was asked whether there was “[a]ny other reason

why [she would] believe that Gary [Marschke] or Jackie [Traynere]” would know her political

affiliation. (Woodward Dep., Dkt. 114-5 at 281:11–21). The only person who testified to any

interaction between Traynere and Woodward was Kenneth Burgess, who said the two women had

an “exchange” during the mayoral race. (Burgess Dep., Dkt. 105-6 at 77:24–79:2). Plaintiffs,

however, have failed to establish whether Burgess was present for this exchange or merely heard

of it after the fact. Moreover, they mischaracterize his testimony that the exchange was “bad.”

(Dkt. 110 at 32 (Statement of Additional Fact ¶ 32)). In short, the little admissible evidence that

does exist concerning this interaction fails to support Plaintiffs’ position that they have established

the Defendant’s knowledge of their protected political speech.

         Finally, Plaintiffs claim that their third through sixth statements of additional fact create a

triable issue as to causation for their First Amendment retaliation claim. (Dkt. 124 at 4). But only

the third statement of additional fact has anything to do with whether Plaintiffs’ protected speech




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contributed to their termination. And, as discussed above, that statement of fact is unsupported.

The remaining facts similarly lack factual support but the Court declines to address them because

they are only relevant to whether the Defendant’s alternative explanation for Plaintiffs’ termination

was pretextual. Plaintiffs’ failure at step one is dispositive, and they have not identified any

manifest errors in the Court’s reasoning. Their remaining arguments regarding pretext and Count

III necessarily fail. (See Dkt. 124 at 4).

                                             CONCLUSION

        Plaintiffs have identified no new evidence or any manifest errors of law or fact in the

Court’s Opinion to meet their heavy burden of justifying alteration or amendment of the judgment

entered in this case. For the reasons set forth above, Plaintiffs’ Motion for Reconsideration [124]

is denied. A separate order resolving Plaintiffs’ objections to the Township’s Bill of Costs [122]

will follow.




                                               ____________________________________
                                               Virginia M. Kendall
                                               United States District Judge

Date: May 21, 2025




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